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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:
                                               :   CHAPTER 13
JOB H. VAN LEUSDEN                             :   CASE NO. 12-12493
                                               :
                       Debtor                  :
                                               :
                                               :   ( ) ORIGINAL PLAN
                                               :   (x) AMENDED PLAN (4th)
                                               :

                            YOUR RIGHTS WILL BE AFFECTED

  If you oppose any provision of this plan you must file a timely written objection. This plan
  may be confirmed and become binding on you without further notice or hearing unless a
  written objection is filed before the deadline stated on the Notice issued in connection with
  the filing of the plan.



                                       PLAN PROVISIONS

DISCHARGE: (Check one)

( x )          The debtor will seek a discharge of debts pursuant to Section 1328(a).

( )            The debtor is not eligible for a discharge of debts because the debtor has
               previously received a discharge described in Section 1328(f).

NOTICE OF SPECIAL PROVISION: (Check if applicable)

( )            This plan contains special provisions that are not included in the standard plan as
               Recommended by the Chapter 13 Standing Chapter 13 Trustees in the Eastern
               District of Pennsylvania. Those provisions are set out in the OTHER PLAN
               PROVISIONS section of this plan.

1.        PLAN FUNDING AND LENGTH OF PLAN

          A.   Debtor has made 14 payments in the amount of $2,003.12 for the months of April of
               2012 through May of 2013 totaling $28,043.68. Beginning on June 7, 2013 Debtor will
               make payments in the amount of $2,767.40 for 46 months totaling $127,300.57.




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              B.   In addition to the above specified plan payments, the debtor agrees to dedicate to
                   the plan the estimated amount of sale proceeds as follows: $ _________ from the
                   sale of property (describe property) _____________________________________
                   All sales will be completed by _________________________________________
                   Other lump sum payments shall be paid to the Trustee as follows:
                   __________________________________________________________________
                   __________________________________________________________________
                   An additional payment was paid to the Trustee on May 6, 2013 as follows:
                   Debtor’s nonexempt personal injury settlement proceeds in the amount of $21,910.41.

          C.        For amended plans:

                   (1)    The plan payments by the debtor shall consist of the total amount
                          previously paid ($28,043.68) added to the new monthly payment in the
                          amount of $2,767.40 for the remaining 46 months of the plan for a
                          total base amount, as amended, of $149,210.98 plus an additional
                          payment in the amount of $21,910.41 as stated in Paragraph B above for
                          a total Plan amount of $177,254.66.

                   (2)    The payment amount shall change effective June 7, 2013.

                   (3)    The debtor shall take appropriate action to ensure that all wage attachment
                          payments are adjusted to conform to the terms of the amended plan.


              D.    The debtor is responsible for funding the plan.


 2.           SECURED CLAIMS

              A.   Adequate Protection Payments under Section 1326. Adequate protection
                   payments in the following amounts will be paid by the debtor to the trustee. The
                   trustee will disburse pre-confirmation adequate protection payments for which a
                   proof of claim has been filed as soon as practicable after receipt of said payments
                   from the debtor.

   Name of Creditor                   Address                   Account #                   Payment
NONE                                                                               $
                                                                                   $




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              B.   Mortgages and Other Direct Payments by Debtor. Payments will be made outside
                   the plan according to the original contract terms, with no modification of contract
                   terms and with liens retained.

         Name of Creditors              Description of Collateral      Contractual       Principal        Contract
                                                                        Monthly          Balance of        Rate of
                                                                        Payment            Claim          Interest
 America’s Servicing                 800 N. 11th Street               $506.88           $29,943.16       n/a
 Bank of America transferred to      300 Chestnut Street              $913.48           $79,907.96       n/a
 Green Tree Servicing eff. 4-1-13
 Bank of America                     2731 Lower Lake Road             $1,364.46         $107,509.97      n/a
 Bank of America                     331 Wyomissing Avenue            $690.70           $101,327.48      n/a
 Chase Home Mortgage                 325 Miller Road                  $1,577.78         $123,520.47      n/a
 M&T Bank                            325 Miller Road                  $130.00           $50,011.04       n/a
 TLM Financial, LLC                  300 Chestnut Street              $552.49           $30,000.00       n/a
 Seterus                             1031 Spruce Street               $398.39           $40,000.00       n/a
 JP Morgan Chase Bank, N.A.          207 S. 4th Street                $427.06           $45,772.00       n/a
 Bank of America                     522 N. 10th Street               $434.89           $54,500.00       n/a
 Bank of America                     217 S.4th Street                 $343.82           $38,000.00       n/a
 Bank of America                     219 S.4th Street                 $332.56           $34,000.00       n/a
 Honda                               Automobile (Honda Fit)           $353.07           $10,486.79       n/a

              C.   Arrears

          Name of Creditor               Description of Collateral       Pre-petition     Interest     Total to be
                                                                        Arrears to be      Rate          paid in
                                                                           Cured                          plan
Berks County Tax Claim Bureau       Taxes due on Real Estate         $7,298.92           n/a          $7,298.92
City of Reading                     Taxes due on Real Estate         $1,185.26           n/a          $1,185.26
City of Reading                     Taxes due on Real Estate         $3,050.51           n/a/         $3,050.51
City of Reading                     Taxes due on Real Estate         $394.09             n/a          $394.09
City of Reading                     Taxes due on Real Estate         $155.09             n/a          $155.09
City of Reading                     Taxes due on Real Estate         $274.59             n/a          $274.59
City of Reading                     Taxes due on Real Estate         $393.77             n/a          $393.77
JP Morgan Chase Bank                207 S. 4th Street                $4,570.17           n/a          $4,570.17
Bank of America                     331 S. Wyomissing Avenue         $8,829.41           n/a          $8,829.41
America’s Servicing Co.             800 N. 11th Street               $6,227.50           n/a          $6,227.50
Bank of America                     522 N. 10th Street               $5,67.10            n/a          $5,167.10
Bank of America                     217 S.4th Street                 $5,217.08           n/a          $5,217.08
Bank of America                     219 S.4th Street                 $4,290.13           n/a          $4,290.13
Bank of America                     300 Chestnut Street              $2,531.31           n/a          $2,531.31




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              D.   Secured Claims Paid According to Modified Terms. These amounts will be paid
                   in the plan according to modified terms, and liens retained until entry of
                   discharge. The excess of the creditor's claim will be treated as an unsecured
                   claim. Any claim listed as “NO VALUE” in the “Modified Principal Balance”
                   column below will be treated as an unsecured claim. A MOTION AND/OR AN
                   ADVERSARY ACTION, AS APPROPRIATE, WILL BE FILED UNDER
                   SECTION 506(a) TO DETERMINE THE EXTENT, VALIDITY, AND
                   PRIORITY OF THE LIEN (Select method in last column):
     Name of Creditor          Description of Collateral          Modified    Interest     Total        Motion or
                                                                  Principal    Rate       Payment       Adversary
                                                                  Balance                                Action
None                                                              $                   % $
                                                                  $                   % $
                                                                  $                   % $

              E.   Other Secured Claims:
     Name of Creditor             Description of Collateral               Principal         Interest     Total to be
                                                                         Balance of           Rate         paid in
                                                                           Claim                            plan
Honda                       Automobile                                $10,486.79            n/a         No


              F.   Surrender of Collateral:
       Name of Creditor                           Description of Collateral to be Surrendered
Bank of America                  2136 Perkiomen Avenue
Bank of America                  1034-1036 Spring Street



              G.   Lien Avoidance. The debtor(s) will move to avoid the liens of the following
                   creditors pursuant to Section 522(f):
         Name of Creditor                                     Description of Collateral
NONE




3.            PRIORITY CLAIMS
              A.   Allowed unsecured claims entitled to priority under section 507 will be paid in
                   full with the exception of certain assigned Domestic Support Obligations that may
                   be paid less than 100% pursuant to section 1322(a)(4):

            Name of Creditor                                            Total Payment
Account Recovery Bureau                       $390.50




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          B.         Administrative Claims:

                     (1)         Trustee Fees.         Percentage fees payable to the trustee will be paid at
                                                       the rate fixed by the United States Trustee, not to
                                                       exceed 10%.

                     (2)         Attorney fees.        In addition to the retainer of $2,404.00 already paid
                                                       by the debtor, an approved by Court in Debtor
                                                       Counsel’s Final Fee Application in the plan.

4.            UNSECURED CLAIMS

              A.     Claims of Unsecured Nonpriority Creditors Specially Classified. Includes
                     unsecured claims, such as co-signed unsecured debts, that will be paid in full even
                     though all other unsecured claims may not be paid in full.

     Name of Creditor              Reason for Special Classification          Amount of     Interest   Total Payment
                                                                               Claim         Rate
None                                                                         $                   %     $
                                                                             $                   %     $



              B.     Claims of General Unsecured Creditors. Shall be paid a pro rata portion of any
              remaining Plan funds.

              C.      Funding (check one)

                        Pro rata

              D.

5.            EXECUTORY CONTRACTS AND UNEXPIRED LEASES. The following
              executory contracts and unexpired leases are assumed (and pre-petition arrears to be
              cured in the plan) or rejected (so indicate):

  Name of Creditor         Description of Collateral     Monthly       Interest   Pre-petition     Total      Assume/
                                                         Payment         Rate       Arrears       Payment      Reject
NONE                                                    $                   %     $              $
                                                        $                    % $                 $




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6.            OTHER PLAN PROVISIONS:




7.            ORDER OF DISTRIBUTION:

Payments from the plan will be made by the trustee in the following order:

Level 1:         ___________________________________________
Level 2:         ___________________________________________
Level 3:         ___________________________________________
Level 4:         ___________________________________________
Level 5:         ___________________________________________
Level 6:         ___________________________________________
Level 7:         ___________________________________________
Level 8:         ___________________________________________

If the above Levels are not filled-in, then the order of distribution of plan payments will be
determined by the trustee using the following as a guide:

Level 1:         Adequate protection payments.
Level 2:         Debtor's attorney's fees.
Level 3:         Domestic Support Obligations.
Level 4:         Priority claims, pro rata.
Level 5:         Secured claims, pro rata.
Level 6:         Specially classified unsecured claims.
Level 7:         General unsecured claims.
Level 8:         Untimely filed unsecured claims to which the debtor has not objected.


8.            REVESTING OF PROPERTY: (Check One)

  ( x )          Property of the estate will vest in the debtor upon confirmation.
  ( )            Property of the estate will vest in the debtor upon closing of the case.

  GENERAL PRINCIPLES APPLICABLE TO ALL PLANS

       1. All pre-petition arrears and cramdowns shall be paid to the trustee and disbursed to creditors
          through the plan.

       2. If a pre-petition creditor files a secured, priority or specially classified claim after the bar
          date, the trustee will treat the claim as allowed, subject to objection by the debtor.
          Claims filed after the bar date that are not properly served on the trustee will not be paid.
          The debtor is responsible for reviewing claims and filing objections, if appropriate.




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       3. In the event that any creditor in any class refuses any disbursement from the standing
          trustee, the standing trustee shall be authorized to disburse those funds to other creditors
          in the same class, or if all such similarly classified creditors have already been paid, to
          other creditors in the next level of priority, without seeking a modification of the plan.

       4. If debtor is successful in obtaining a recovery in any personal injury or other litigation in
          which debtor is the plaintiff during the term of this plan, any recovery in excess of any
          applicable exemption will be paid to the trustee as a special plan payment, in addition to
          debtor's regular plan payments, for the benefit of the unsecured creditors.

       5. If this plan is confirmed prior to the bar date for the filing of proofs of claim, and if any
          claims are filed after such confirmation date, but before the expiration of the applicable
          proof of claim deadline ("bar date"), debtor agrees, within thirty (30) days after the bar
          date,

                  (a) to notify the standing trustee of any such post-confirmation filed claims which
              would affect the adequate funding of the plan, and advise as to debtor's intentions with
              respect to such claims, in writing; and

                  (b) within ten (10) days of such notification, either file
                      (i) an objection to such claim(s), or
                      (ii) a motion to modify the confirmed plan to account for such post-confirmation
                      filed claims.

                     If debtor files an objection to such claim(s), and such objection(s) is/are
              overruled, debtor will promptly file a motion to modify the plan to account for such
              claim(s).

              If this plan is confirmed prior to the bar date, debtor also agrees that any documents or
              other requests previously made by the standing trustee shall be fulfilled on or before the
              bar date.

       6. Debtor shall certify compliance with all requirements of 11 U.S.C. § 1328 before the plan
          shall be deemed completed, and only upon such certification shall the debtor(s) be
          entitled to a chapter 13 discharge, provided that debtor(s) is/are otherwise eligible, as
          indicated in the Discharge section above.


Dated: 6-6-13                                                      /s/ Charles J. Phillips, Esquire
                                                                   Attorney for Debtor

                                                                   /s/ Eden R. Bucher, Esquire
                                                                   Attorney for Debtor

                                                                   /s/ Job H. Van Leusden
                                                                   Debtor Job H. Van Leusden




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